






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00527-CR







Merlon Hines, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. D-1-DC-04-302710, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Following a bench trial, appellant Merlon Hines was found guilty of aggravated
sexual assault.  See Tex. Penal Code Ann. § 22.021 (West Supp. 2007).  The court assessed
punishment, enhanced by previous felony convictions, at imprisonment for life.

Appellant represents himself on appeal, as he did at trial. (1)  His brief on appeal was
originally due in March 2007.  On appellant's motion, the time for filing was extended three times,
the last extension being to November 16, 2007.  On December 11, 2007, after no brief was filed and
no further extension of time was requested, the Court ordered appellant to tender his brief for filing
no later than January 4, 2008.  The order advised appellant that if he did not file a brief as ordered,
the appeal would be submitted for decision without a brief.  No brief has been received.  See Tex.&nbsp;R.
App. P. 38.8(b)(4) (consideration of appeal without briefs).

We have examined the record and find no fundamental error or other matter that
should be considered in the interest of justice.  The judgment of conviction is affirmed. 

		

				__________________________________________

				David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   February 27, 2008

Do Not Publish
1.        Appellant had an appointed attorney, but later filed a written waiver of the right to counsel. 
See Tex. Code Crim. Proc. Ann. art. 1.051(g) (West Supp. 2007).  Appellant's original attorney
thereafter served as stand-by counsel until he was allowed to withdraw and was replaced by
another attorney.  Appellant personally conducted the defense at trial.  He filed a pro se notice
of appeal and did not request counsel on appeal.  Appellant was provided a copy of the appellate
record.


